           Case 2:23-cv-00444-JRG Document 2 Filed 09/27/23 Page 1 of 2 PageID #: 315
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                     REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                            ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                 TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court           Eastern District of Texas, Marshall Division                       on the following
      G Trademarks or         G Patents.    ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
        2:23cv444                          9/27/2023                            Eastern District of Texas, Marshall Division
PLAINTIFF                                                                 DEFENDANT
 Valtrus Innovations Ltd.                                                   T-Mobile USA, Inc., et al



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 7,599,379                                10/6/2009                Valtrus Innovations Ltd.

2 7,130,625                                10/31/2006               Valtrus Innovations Ltd.

3 8,307,063                                11/6/2012                Valtrus Innovations Ltd.

4 6,781,858                                8/24/2004                Valtrus Innovations Ltd.

5


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G Amendment            G Answer          G Cross Bill        G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

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3

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                      (BY) DEPUTY CLERK                                            DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
           Case 2:23-cv-00444-JRG Document 2 Filed 09/27/23 Page 2 of 2 PageID #: 316
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                     REPORT ON THE
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         Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
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                    Alexandria, VA 22313-1450                                                 TRADEMARK

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        2:23cv444                          9/27/2023                            Eastern District of Texas, Marshall Division
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 Valtrus Innovations Ltd.                                                   T-Mobile USA, Inc., et al



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 6,871,264                                3/22/2005                Valtrus Innovations Ltd.

2 8,432,892                                4/30/2013                Valtrus Innovations Ltd.

3 7,490,155                                2/10/2009                Valtrus Innovations Ltd.

4 7,930,539                                4/19/2011                Valtrus Innovations Ltd.

5 7,085,364                                 8/1/2006                Valtrus Innovations Ltd.


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G Amendment            G Answer          G Cross Bill        G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
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